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AO 24SS      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                                     4 ~ of
                                                                                                  Judgment - P4!ge _ _
DEFENDANT: ASIEL BAHJAT TOMIKA (l9)
CASE NUMBER: 12CR1852-CAB

                                                                    FINE

      The defendant shall pay a fine in the amount of _ _ _$_4_,6_0_0_.0_0_ _ _unto the United States of America.




          This sum shall be paid _              immediately.
                                          K     as follows:

           THE DEFENDANT IS TO COORDINATE A PAYMENT SCHEDULE WITH PROBATION.




          The Court has determined that the defendant does not       have the ability to pay interest. It is ordered that:

   .!..- The interest requirement is waived.

           The interest is modified as follows:




                                                                                                12CR1852-CAB
